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14   [Counsel appearance continues on next page]
15   Attorneys for Plaintiffs,
     MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
16
                      IN THE UNITED STATES DISTRICT COURT
17
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
                                 SOUTHERN DIVISION
19
20    MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
      a Delaware corporation; and            )
21    CERCACOR LABORATORIES, INC.,           ) PLAINTIFFS’ NOTICE OF
      a Delaware corporation                 ) MOTION AND MOTION TO
22                                           )
                  Plaintiffs,                ) INCREASE DEPOSITION HOURS
23                                           )
            v.                               ) Hon. James V. Selna
24                                           )
      APPLE INC., a California corporation   )
25                                           ) Date: August 15, 2022
                  Defendant.                 ) Time: 1:30 p.m.
26                                           )
                                             ) Ctrm: 10C
27                                           )

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 1         PLEASE TAKE NOTICE that on August 15, 2022, at 1:30PM, or as soon
 2   thereafter as counsel may be heard, in the Courtroom of the Honorable James V. Selna,
 3   Courtroom 10C of the United States District Court for the Central District of California,
 4   located at 411 West Fourth Street, Santa Ana, California, 92701, Plaintiffs Masimo
 5   Corporation and Cercacor Laboratories, Inc. (“Masimo”) will move to increase the
 6   number of deposition hours. Masimo brings this motion under Local Rule 7-4.
 7         This motion is made following the conference of counsel pursuant to L.R. 7-3,
 8   which took place on July 18, 2022, and Apple’s agreement that Masimo may file the
 9   motion without waiting seven days after the conference. See Powell Decl. ¶ 2.
10         The parties executed and filed a stipulation agreeing to expedited briefing and
11   respectfully request the Court decide this Motion as quickly as possible. The Motion
12   will be fully briefed in three days by July 21, 2022. See id.
13         This motion is based upon this Notice of Motion, the Memorandum in Support of
14   the Motion, the Declaration of Adam B. Powell, including the exhibits attached thereto,
15   all documents filed concurrently herewith, any subsequently filed memorandums and
16   declarations, the pleadings and papers filed in this action, and any other arguments,
17   evidence, and other matters submitted to the Court, at the hearing or otherwise. A
18   proposed order is being lodged for the Court’s consideration.
19                                             Respectfully submitted,
20                                             KNOBBE, MARTENS, OLSON & BEAR, LLP
21
22   Dated: July 18, 2022                      By: /s/ Adam B. Powell
                                                    Joseph R. Re
23                                                  Stephen C. Jensen
24                                                  Benjamin A. Katzenellenbogen
                                                    Perry D. Oldham
25                                                  Stephen W. Larson
                                                    Mark D. Kachner
26                                                  Adam B. Powell
27                                                  Daniel P. Hughes
                                                    Justin J. Gillett
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 1                                               Attorneys for Plaintiffs
                                                 MASIMO CORPORATION and
 2                                               CERCACOR LABORATORIES, INC.
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